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May 15, 2017

Via ECF

The Honorable Ellen Lipton Hollander
United States District Court
for the District of Maryland
101 West Lombard Street
Baltimore, Maryland 21201

Re:    Nancy F. George v. Massachusetts Mutual Life Insurance Company
       Civil Action No. ELH-17-1073

Dear Judge Hollander:

Please accept this letter as a status report submitted on behalf of Massachusetts Mutual Life Insurance
Company (“MassMutual”) in accordance with the scheduling order entered on April 28, 2017 (ECF no.
18). On May 11, 2017, counsel for MassMutual wrote to Ms. George regarding this status report, but
received no response.

       a.      Referral to Magistrate Judge Generally: MassMutual wrote to Ms. George asking for
               her consent to have all further proceedings conducted by a United States Magistrate Judge.
               Given the absence of opposition from Ms. George, MassMutual requests all further
               proceedings in this action be conducted by a United States Magistrate Judge.

       b.      Referral for a Settlement Conference: Given the pending motion for summary
               judgment, MassMutual believes it would be inappropriate to refer this case for a settlement
               conference at this time.

       c.      Other Matters: MassMutual does not believe there are any other matters that may affect
               the discovery schedule or that should be brought to the attention of the Court at this time.

Thank you for your consideration of this matter.

Respectfully submitted,


Bryan D. Bolton
Bryan D. Bolton

cc:    Nancy F. George (via first-class mail)
